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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
United States of America                          §
                                                  §
vs.                                               §      NO: AU:25-CR-00174(1)-RP
                                                  §
(1) Paul Hernandez-Guzman                         §

                                              ORDER

        On this day the Court reviewed the file in the above-styled cause, and specifically the
Report and Recommendation of the United States Magistrate Judge filed April 10, 2025, wherein the
defendant Hernandez-Guzman waived appearance before this Court and appeared before United
States Magistrate Judge Susan Hightower for the taking of a felony plea and Rule 11, Fed. R. Crim.
P., allocution. The Magistrate Judge recommends that the plea of guilty be accepted by the
undersigned, and noting no opposition by defendant Hernandez-Guzman to the Report and
Recommendation, the Court enters the following order:


       IT IS THEREFORE ORDERED that the defendant Hernandez-Guzman's plea of guilty
to Count 1 of the Indictment is accepted.


       Signed this 25th day of April, 2025.


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                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE
